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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    GARY HEFLER, et al.,                                Case No. 16-cv-05479-JST
                                                       Plaintiffs,
                                   8
                                                                                            ORDER GRANTING PRELIMINARY
                                                 v.                                         APPROVAL OF CLASS ACTION
                                   9
                                                                                            SETTLEMENT AND GRANTING
                                  10    WELLS FARGO & COMPANY, et al.,                      MOTION TO SEAL
                                                       Defendants.                          Re: ECF Nos. 225, 226
                                  11

                                  12
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                                  13           Before the Court is Plaintiffs’ unopposed motion for preliminary approval of a class action

                                  14   settlement and class certification. ECF No. 225. In connection with the motion, the parties have

                                  15   also filed a motion to file under seal a confidential supplemental agreement. ECF No. 226. The

                                  16   Court will grant both motions.

                                  17   I.      BACKGROUND

                                  18           A.     The Parties and Claims

                                  19           Plaintiffs bring this federal securities class action against Wells Fargo & Company and

                                  20   several of its officers and directors for violations of sections 10(b), 20(a), and 20A of the

                                  21   Securities Exchange Act of 1934 and the Securities and Exchange Commission’s Rule 10b-5. See

                                  22   ECF No. 207.

                                  23           Lead Plaintiff Union Asset Management Holding, AG (“Union”) brings these claims “on

                                  24   behalf of all persons who purchased Wells Fargo common stock between February 26, 2014 and

                                  25   September 20, 2016, inclusive (the ‘Class Period’).” ECF No. 207 ¶ 2.

                                  26           The substance of Union’s claims is set forth in greater detail in the Court’s prior order

                                  27   granting in part and denying in part Defendants’ motions to dismiss. See ECF No. 205. In short,

                                  28   Union alleges that Defendants made “repeated misrepresentations and omissions about a core
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                                   1   element of Wells Fargo’s business: its acclaimed ‘cross-selling’ business model,” ECF No. 207

                                   2   ¶ 3, artificially inflating Wells Fargo’s stock price, id. ¶ 261. Union seeks damages related to this

                                   3   inflation of Wells Fargo’s stock price and its subsequent decline when the truth about Wells

                                   4   Fargo’s practices came to light through a series of disclosures in September 2016. See, e.g., id.

                                   5   ¶¶ 262, 270.

                                   6            B.     Procedural History

                                   7            Plaintiff Gary Hefler filed the initial complaint in this action on September 26, 2016. ECF

                                   8   No. 1. Several related lawsuits based on the same misconduct were subsequently filed against

                                   9   Wells Fargo. ECF Nos. 8, 12, 14, 18, 47, 55, 222. On January 5, 2017, the Court granted Union’s

                                  10   motion to consolidate Hefler v. Wells Fargo & Co., Case No. 16-cv-5479, with Klein v. Wells

                                  11   Fargo & Co., Case No. 16-cv-5513, and to appoint Union as Lead Plaintiff, Motley Rice LLC as

                                  12   Lead Counsel, and Robbins Geller Rudman & Dowd LLP as Liaison Counsel. ECF No. 58. The
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                                  13   Court later granted Union’s motion to substitute Bernstein Litowitz Berger & Grossman LLP

                                  14   (“Bernstein”) as Lead Counsel. ECF No. 95.

                                  15            Wells Fargo and the Individual Defendants filed a set of eight motions to dismiss, which

                                  16   the Court granted in part and denied in part on February 27, 2018. See ECF No. 205. Shortly

                                  17   thereafter, Union filed the operative second amended class action complaint. ECF No. 207.

                                  18            On July 31, 2018, Union filed an unopposed motion for preliminary approval of a

                                  19   settlement, ECF No. 225, and the parties filed a motion to file under seal a confidential

                                  20   supplemental agreement to the proposed settlement, ECF No. 226.

                                  21   II.      CLASS CERTIFICATION

                                  22            As part of its preliminary approval motion, Union requests certification for the following

                                  23   class for settlement purposes:

                                  24                   [A]ll persons and entities who purchased Wells Fargo common
                                                       stock from February 26, 2014 through September 20, 2016,
                                  25                   inclusive. Excluded from the Settlement Class are: (i) Defendants;
                                                       (ii) Immediate Family Members of any Individual Defendant; (iii)
                                  26                   any person who was a director or member of the Operating
                                                       Committee of Wells Fargo during the Class Period and their
                                  27                   Immediate Family Members; (iv) any parent, subsidiary or affiliate
                                                       of Wells Fargo; (v) any firm, trust, corporation, or other entity in
                                  28                   which Defendants or any other excluded person or entity has, or had
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                                                      during the Class Period, a controlling interest; and (vi) the legal
                                   1                  representatives, agents, affiliates, heirs, successors-in-interest or
                                                      assigns of any such excluded persons or entities. Notwithstanding
                                   2                  the foregoing exclusions, no Investment Vehicle shall be excluded
                                                      from the Settlement Class. Also excluded from the Settlement Class
                                   3                  are any persons and entities who or which exclude themselves by
                                                      submitting a request for exclusion that is accepted by the Court.
                                   4

                                   5   ECF No. 225-1 at 13; see also ECF No. 225 at 23. Union further requests that the Court appoint

                                   6   Union and four other Named Plaintiffs – Gary Hefler, Marcelo Mizuki, Guy Solomonov, and City

                                   7   of Hialeah Employees’ Retirement System – as class representatives and Lead Counsel as class

                                   8   counsel. ECF No. 225 at 27; see also ECF No. 225-1 at 11.

                                   9          A.      Legal Standard

                                  10          Class certification under Federal Rule of Civil Procedure 23 is a two-step process. First, a

                                  11   plaintiff must demonstrate that the four requirements of Rule 23(a) are met: numerosity,

                                  12   commonality, typicality, and adequacy. “Class certification is proper only if the trial court has
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                                  13   concluded, after a ‘rigorous analysis,’ that Rule 23(a) has been satisfied.” Wang v. Chinese Daily

                                  14   News, Inc., 737 F.3d 538, 542-43 (9th Cir. 2013) (quoting Wal-Mart Stores, Inc. v. Dukes, 564

                                  15   U.S. 338, 351 (2011)).

                                  16          Second, a plaintiff must establish that the action meets one of the bases for certification in

                                  17   Rule 23(b). Union relies on Rule 23(b)(3) and must therefore establish that “questions of law or

                                  18   fact common to class members predominate over any questions affecting only individual

                                  19   members, and that a class action is superior to other available methods for fairly and efficiently

                                  20   adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

                                  21          When determining whether to certify a class for settlement purposes, a court must pay

                                  22   “heightened” attention to the requirements of Rule 23. Amchem Prods., Inc. v. Windsor, 521 U.S.

                                  23   591, 620 (1997). “Such attention is of vital importance, for a court asked to certify a settlement

                                  24   class will lack the opportunity, present when a case is litigated, to adjust the class, informed by the

                                  25   proceedings as they unfold.” Id.

                                  26          B.      Analysis

                                  27                  1.      Rule 23(a)(1): Numerosity

                                  28          Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is
                                                                                          3
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                                   1   impracticable.” Fed. R. Civ. P. 23(a)(1). Union asserts that there were more than 5 billion shares

                                   2   of Wells Fargo common stock outstanding during the Class Period, with an average daily trading

                                   3   volume of over 16.9 million shares. ECF No. 225 at 24. Therefore, Union reasons, the proposed

                                   4   class “consists of thousands (or tens of thousands) of investors.” Id. at 24.

                                   5           The Court concludes that Union has satisfied its burden to show that the number of

                                   6   putative class members is sufficiently numerous that their joinder would be impracticable.

                                   7                   2.      Rule 23(a)(2): Commonality

                                   8           Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Fed.

                                   9   R. Civ. P. 23(a)(2). A common question is one “capable of classwide resolution ‒ which means

                                  10   that determination of its truth or falsity will resolve an issue that is central to the validity of each

                                  11   one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. For the purposes of Rule 23(a)(2),

                                  12   “even a single common question” is sufficient. Id. at 359 (quotation marks and internal alterations
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                                  13   omitted).

                                  14           Union asserts that commonality exists because questions of law or fact common to the

                                  15   putative class “include: (i) whether Defendants violated the Exchange Act; (ii) whether

                                  16   Defendants omitted or misrepresented material facts in public statements and filings with the

                                  17   [Securities and Exchange Commission]; (iii) whether Defendants knew or recklessly disregarded

                                  18   that their statements were false and misleading; (iv) whether the price of Wells Fargo common

                                  19   stock was artificially inflated; and (v) the extent of damage sustained by Settlement Class

                                  20   Members, and the appropriate measure of damages.” ECF No. 225 at 24.

                                  21           The Court agrees that this requirement is met. Defendants made the same alleged

                                  22   statements to the entire putative class, as members of the investing public. Moreover, whether

                                  23   Defendants’ statements and subsequent corrective disclosures had the alleged impact on the price

                                  24   of Wells Fargo’s common stock can be jointly resolved as to all class members.

                                  25                   3.      Rule 23(a)(3): Typicality

                                  26           Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical

                                  27   of the claims or defenses of the class.” Fed R. Civ. P. 23(a)(3). “The purpose of the typicality

                                  28   requirement is to assure that the interest of the named representative aligns with the interests of the
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                                   1   class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). “The test of typicality

                                   2   ‘is whether other members have the same or similar injury, whether the action is based on conduct

                                   3   which is not unique to the named plaintiffs, and whether other class members have been injured by

                                   4   the same course of conduct.’” Id. (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal.

                                   5   1985)).

                                   6             The Court concludes that the proposed class representatives’ claims are typical of the class

                                   7   claims. All members of the proposed class, including Union and the other Named Plaintiffs, have

                                   8   allegedly been injured by the same conduct: financial losses due to purchasing Wells Fargo stock

                                   9   whose price was artificially inflated by Defendants’ conduct and that subsequently declined when

                                  10   that conduct was disclosed.

                                  11                    4.      Rule 23(a)(4): Adequacy

                                  12             Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect the
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                                  13   interests of the class.” Fed. R. Civ. P. 23(a)(4). This “requires that two questions be addressed:

                                  14   (a) do the named plaintiffs and their counsel have any conflicts of interest with other class

                                  15   members and (b) will the named plaintiffs and their counsel prosecute the action vigorously on

                                  16   behalf of the class?” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 462 (9th Cir. 2000).

                                  17             The record contains no evidence suggesting that the proposed class representatives have a

                                  18   conflict of interest with other class members. Union and the Named Plaintiffs share a common

                                  19   claim with the class, seek the same relief as they do, and have every incentive to vigorously

                                  20   prosecute the action on behalf of the class. Moreover, in its role as Lead Plaintiff, Union has

                                  21   “retained counsel highly experienced in securities class action litigation,” and “who have

                                  22   successfully prosecuted many securities and other complex class actions.” ECF No. 225 at 26; see

                                  23   also ECF No. 94-1. The Court finds that the proposed class representatives and Lead Counsel

                                  24   have prosecuted and will continue to prosecute this action vigorously on behalf of the class. The

                                  25   adequacy requirement is therefore satisfied.

                                  26                    5.      Rule 23(b)(3): Predominance and Superiority

                                  27             Finally, Rule 23(b)(3) requires that “questions of law or fact common to class members

                                  28   predominate over any questions affecting only individual members, and that a class action is
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                                   1   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

                                   2   R. Civ. P. 23(b)(3). Courts must consider:

                                   3                  (A) the class members’ interests in individually controlling the
                                                      prosecution or defense of separate actions;
                                   4

                                   5                  (B) the extent and nature of any litigation concerning the
                                                      controversy already begun by or against class members;
                                   6
                                                      (C) the desirability or undesirability of concentrating the litigation of
                                   7                  the claims in the particular forum; and

                                   8                  (D) the likely difficulties in managing a class action.
                                   9   Id. The predominance inquiry “tests whether proposed classes are sufficiently cohesive to warrant
                                  10   adjudication by representation.” Amchem Prods., 521 U.S. at 623. “When common questions
                                  11   present a significant aspect of the case and they can be resolved for all members of the class in a
                                  12   single adjudication, there is clear justification for handling the dispute on a representative rather
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                                  13   than on an individual basis.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998)
                                  14   (quoting 7A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice &
                                  15   Procedure § 1778 (2d ed. 1986)). Similarly, “[w]here classwide litigation of common issues will
                                  16   reduce litigation costs and promote greater efficiency, a class action may be superior to other
                                  17   methods of litigation.” Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996).
                                  18          The Court concludes that common questions of law and fact predominate here. Whether
                                  19   Defendants’ statements were false, material, made with the requisite scienter, and caused the class
                                  20   members’ losses are significant aspects of the case and susceptible to common proof. See also
                                  21   Amchem Prods., 521 U.S. at 625 (“Predominance is a test readily met in certain cases alleging
                                  22   consumer or securities fraud or violations of the antitrust laws.”).
                                  23          Moreover, a class action is a superior method for adjudicating the controversy. The class
                                  24   likely consists of thousands of investors and resolving these disputes in a single class action would
                                  25   be far more efficient than litigating their cases individually. Nor are there any reasons why it
                                  26   would be undesirable to litigate the case in this forum. The Court therefore finds that the proposed
                                  27   class satisfies the requirements of Rule 23(b)(3).
                                  28          Because the proposed class meets all of the requirements of Rules 23(a) and 23(b)(3), the
                                                                                            6
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                                   1   Court conditionally certifies the proposed class for purposes of settlement.

                                   2          C.      Appointment of Class Representative and Class Counsel

                                   3          As discussed above, the Court finds that Union, Hefler, Mizuki, Solomonov, and the City

                                   4   of Hialeah Employees’ Retirement System meet the commonality, typicality, and adequacy

                                   5   requirements of Rule 23(a). The Court therefore appoints them as class representatives.

                                   6          When a court certifies a class, it must consider the following when appointing class

                                   7   counsel:

                                   8                  (i) the work counsel has done in identifying or investigating
                                                      potential claims in the action;
                                   9
                                                      (ii) counsel’s experience in handling class actions, other complex
                                  10                  litigation, and the types of claims asserted in the action;
                                  11                  (iii) counsel’s knowledge of the applicable law; and
                                  12                  (iv) the resources that counsel will commit to representing the class.
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                                  13   Fed. R. Civ. P. 23(g)(1)(A). The court may also “consider any other matter pertinent to counsel’s

                                  14   ability to fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B).

                                  15   Since taking over as Lead Counsel, see ECF No. 95, Bernstein obtained a good understanding of

                                  16   the issues and vigorously prosecuted this action by litigating this case through dispositive motions,

                                  17   the initial stages of formal discovery, and formal mediation, see ECF No. 205; ECF No. 225 at 13-

                                  18   14. Moreover, as noted above, Bernstein has significant prior experience in litigating securities

                                  19   fraud cases, including class actions. ECF No. 94-1; ECF No. 225 at 26. For these reasons, the

                                  20   Court will appoint Bernstein as class counsel pursuant to Federal Rule of Civil Procedure 23(g).

                                  21   III.   MOTION FOR PRELIMINARY APPROVAL

                                  22          A.      Terms of the Settlement

                                  23          The proposed settlement agreement (“Settlement”) resolves claims between Wells Fargo

                                  24   and the class, as defined above. See ECF No. 225-1 at 13.

                                  25          Under the Settlement, Wells Fargo has agreed to pay $480 million dollars (the “Settlement

                                  26   Amount”) into the Settlement Fund within fifteen days of the entry of a preliminary approval

                                  27   order. Id. at 13, 17. The following amounts will be subtracted from the Settlement Amount:

                                  28   (1) taxes; (2) notice costs; (3) attorneys’ fees and expenses; and (4) service awards to the class
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                                   1   representatives. Id. at 17; ECF No. 225 at 33.

                                   2          Pursuant to the proposed plan of allocation, class members who submit timely claims will

                                   3   receive payments on a pro rata basis based on the date(s) class members purchased and sold Wells

                                   4   Fargo common stock, as well as the total number and amount of claims filed. ECF No. 225-1 at

                                   5   75–78. To calculate the amount that will be paid to each class member, the Claims Administrator1

                                   6   will determine each claim’s share of the Settlement Fund proceeds based upon the claim’s

                                   7   recognized loss. Id. at 75–76. The recognized loss calculation will be “based primarily on the

                                   8   difference in the amount of alleged artificial inflation in the prices of Wells Fargo common stock

                                   9   at the time of purchase and at the time of sale or the difference between the actual purchase price

                                  10   and the sale price.” Id. at 75. Before deducting any costs or attorneys’ fees, the Settlement

                                  11   represents an average recovery of $0.44 per eligible share. Id. at 62. After deductions, the

                                  12   recovery will be approximately $0.35 per share. See id. at 64 (“The estimated average cost per
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                                  13   affected share of Wells Fargo common stock, if the Court approves Lead Counsel’s fee and

                                  14   expense application, is $0.09 per share.”). No distribution will be made to Authorized Claimants

                                  15   who would otherwise receive a distribution of less than $10.00. Id. at 78. Nine months after the

                                  16   initial distribution, the Claims Administrator will make additional re-distributions to class

                                  17   members if it is cost effective to do so. Id. Any Settlement Funds not distributed to the class will

                                  18   be paid to a cy pres recipient: the Investor Protection Trust. Id.

                                  19          In exchange for the settlement payment, Plaintiffs agree to release the following:

                                  20                  [A]ny and all claims, debts, demands, rights or causes of action or
                                                      liabilities of every nature and description (including, but not limited
                                  21                  to, any claims for damages, interest, attorneys’ fees, expert or
                                                      consulting fees, and any other costs, expenses or liability
                                  22                  whatsoever), whether known claims or Unknown Claims, whether
                                                      arising under federal, state, local, foreign, statutory or common law
                                  23                  or any other law, rule or regulation, whether fixed or contingent,
                                                      accrued or un-accrued, liquidated or unliquidated, at law or in
                                  24                  equity, matured or unmatured, whether class or individual in nature,
                                                      that both (i) concern, arise out of, relate to, or are based upon the
                                  25                  purchase, acquisition, or ownership of Wells Fargo common stock
                                                      during the Class Period and (ii) were asserted or could have been
                                  26                  asserted in this Action by Lead Plaintiff or any other member of the
                                  27
                                       1
                                  28    Union proposes that Epiq Class Action & Mass Tort Solutions serve as the Claims
                                       Administrator. ECF No. 225 at 30.
                                                                                    8
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                                                        Settlement Class against any of the Defendants’ Releasees that arise
                                   1                    out of, relate to, or are based upon any of the allegations,
                                                        circumstances, events, transactions, facts, matters, occurrences,
                                   2                    statements, representations or omissions involved, set forth, or
                                                        referred to in the Complaint, except for claims relating to the
                                   3                    enforcement of the Settlement.
                                   4   Id. at 12. The Settlement does not, however, cover “the claims asserted in any derivative or

                                   5   ERISA action against any of the Defendants.” Id. at 12–13.

                                   6          In order to inform class members of the Settlement, Union proposes the following notice

                                   7   plan. Within fifteen days of the Court’s preliminary approval order, ECF No. 225 at 24, the

                                   8   Claims Administrator will begin “mail[ing] the Notice and Claim Form to those members of the

                                   9   Settlement Class as may be identified through reasonable effort.” ECF No. 225-1 at 21; see also

                                  10   ECF No. 225-1 at 61 (Proposed Notice); ECF No. 225-1 at 86 (Claim Form). To facilitate this

                                  11   process, Wells Fargo will provide the Claims Administrator with “Wells Fargo’s shareholder lists

                                  12   (consisting of names and addresses) of the holders of Wells Fargo common stock during the Class
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                                  13   Period.” Id. at 21. No more than twenty-five days after preliminary approval, the Claims

                                  14   Administrator will also publish the Summary Notice in the Wall Street Journal and the Los

                                  15   Angeles Times, and transmit it over the PR Newswire. ECF No. 225 at 33; ECF No. 225-1 at 51;

                                  16   ECF No. 225-1 at 97 (Summary Notice). Union estimates that the Claims Administrator’s

                                  17   administrative costs will be $2.5 million, which it proposes to pay from the Settlement Fund. ECF

                                  18   No. 225 at 31.

                                  19          Lead Counsel also intends to seek attorneys’ fees for all Named Plaintiffs’ counsel in an

                                  20   amount not to exceed twenty percent of the Settlement Fund, an award of litigation expenses of no

                                  21   more than $750,000, and an award to the class representatives not to exceed an aggregate total of

                                  22   $50,000. ECF No. 225-1 at 63; see also ECF No. 225 at 32–33.

                                  23          Wells Fargo reserves the right to terminate the Settlement “in the event that Settlement

                                  24   Class Members timely and validly requesting exclusion from the Settlement Class meet the

                                  25   conditions set forth in Wells Fargo’s confidential supplemental agreement with Lead Plaintiff.”

                                  26   ECF No. 225-1 at 28.

                                  27          B.        Motion to File Under Seal

                                  28          A party seeking to seal a document filed with the court must (1) comply with Civil Local
                                                                                         9
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                                   1   Rule 79–5; and (2) rebut a “strong presumption in favor of access” that applies to all documents

                                   2   other than grand jury transcripts or pre-indictment warrant materials. Kamakana v. City and

                                   3   County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (citation omitted).

                                   4          With respect to the first prong, Local Rule 79-5 requires, as a threshold, a request that

                                   5   (1) “establishes that the document, or portions thereof, are privileged, protectable as a trade secret

                                   6   or otherwise entitled to protection under the law”; and (2) is “narrowly tailored to seek sealing

                                   7   only of sealable material.” Civil L.R. 79-5(b). An administrative motion to seal must also fulfill

                                   8   the requirements of Local Rule 79-5(d). “Reference to a stipulation or protective order that allows

                                   9   a party to designate certain documents as confidential is not sufficient to establish that a document,

                                  10   or portions thereof, are sealable.” Civil L.R. 79-5(d)(1)(A).

                                  11          With respect to the second prong, the showing required for overcoming the strong

                                  12   presumption of access depends on the type of motion to which the document is attached. “[A]
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                                  13   ‘compelling reasons’ standard applies to most judicial records. This standard derives from the

                                  14   common law right ‘to inspect and copy public records and documents, including judicial records

                                  15   and documents.’” Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010) (citation

                                  16   omitted) (quoting Kamakana, 447 F.3d at 1178). To overcome this strong presumption, the party

                                  17   seeking to seal a judicial record must “articulate compelling reasons supported by specific factual

                                  18   findings that outweigh the general history of access and the public policies favoring disclosure.”

                                  19   Kamakana, 447 F.3d at 1178-79 (internal quotation marks and citations omitted).

                                  20          On the other hand, records attached to motions that are only “tangentially related to the

                                  21   merits of a case” are not subject to the strong presumption of access. Ctr. for Auto Safety v.

                                  22   Chrysler Grp., LLC, 809 F.3d 1092, 1101 (9th Cir. 2016). Instead, a party need only make a

                                  23   showing under the good cause standard of Rule 26(c) to justify the sealing of the materials. Id. at

                                  24   1097. A court may, for good cause, keep documents confidential “to protect a party or person

                                  25   from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c).

                                  26          Here, the parties seek to file under seal a confidential supplemental agreement as part of a

                                  27   class action settlement for which they seek preliminary approval. Preliminary approval of a

                                  28   settlement is an issue more than tangentially related to the merits of the case, and therefore the
                                                                                         10
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                                   1   “compelling reasons” standard applies. See Kiersey v. eBay, Inc, No. 12-CV-01200-JST, 2013

                                   2   WL 5609318, at *2 (N.D. Cal. Oct. 11, 2013) (“[A] motion seeking the Court’s preliminary

                                   3   approval of the settlement of the case may be effectively dispositive.”).

                                   4          “‘[C]ompelling reasons’ sufficient to outweigh the public’s interest in disclosure and

                                   5   justify sealing court records exist when such ‘court files might have become a vehicle for

                                   6   improper purposes,’ such as the use of records to gratify private spite, promote public scandal,

                                   7   circulate libelous statements, or release trade secrets.” Kamakana, 447 F.3d at 1179 (quoting

                                   8   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). The Nixon court also noted that the

                                   9   “common-law right of inspection has bowed before the power of a court to insure that its records”

                                  10   are not used as “sources of business information that might harm a litigant’s competitive

                                  11   standing.” 435 U.S. at 598.

                                  12          The parties’ motion to file under seal contends that the conditions under which Wells
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                                  13   Fargo may terminate the Settlement, in particular the threshold number of opt-out exclusions by

                                  14   class members, must remain confidential in order “to avoid the risk that one or more shareholders

                                  15   might use this knowledge to insist on a higher payout for themselves by threatening to break up

                                  16   the Settlement.” ECF No. 226 at 3.

                                  17          The Court agrees. There are compelling reasons to keep this information confidential in

                                  18   order to prevent third parties from utilizing it for the improper purpose of obstructing the

                                  19   settlement and obtaining higher payouts. The parties cite to several other courts that have reached

                                  20   a similar conclusion. Id. (citing In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 948 (9th

                                  21   Cir. 2015) and other cases); see also Thomas v. MagnaChip Semiconductor Corp., 14-CV-01160,

                                  22   2017 WL 4750628, at *5 (N.D. Cal. Oct. 20, 2017). Accordingly, the motion to file under seal is

                                  23   granted.

                                  24          C.      Preliminary Settlement Approval

                                  25                  1.      Legal Standard

                                  26          The Ninth Circuit maintains a “strong judicial policy” that favors the settlement of class

                                  27   actions. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). Courts generally

                                  28   employ a two-step process in evaluating a class action settlement. First, courts make a
                                                                                        11
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                                   1   “preliminary determination” concerning the merits of the settlement and, if the class action has

                                   2   settled prior to class certification, the propriety of certifying the class. See Manual for Complex

                                   3   Litigation, Fourth (“MCL, 4th”) § 21.632 (FJC 2004). “The initial decision to approve or reject a

                                   4   settlement proposal is committed to the sound discretion of the trial judge.” City of Seattle, 955

                                   5   F.2d at 1276 (citation omitted). Courts “must be particularly vigilant not only for explicit

                                   6   collusion, but also for more subtle signs that class counsel have allowed pursuit of their own self-

                                   7   interests and that of certain class members to infect the negotiations.” In re Bluetooth Headset

                                   8   Prods. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011).

                                   9          The Court’s task at the preliminary approval stage is to determine whether the settlement

                                  10   falls “within the range of possible approval.” In re Tableware Antitrust Litig., 484 F. Supp. 2d

                                  11   1078, 1080 (N.D. Cal. 2007) (citation omitted); see also MCL, 4th § 21.632 (explaining that

                                  12   courts “must make a preliminary determination on the fairness, reasonableness, and adequacy of
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                                  13   the settlement terms and must direct the preparation of notice of the certification, proposed

                                  14   settlement, and date of the final fairness hearing.”). Second, courts must hold a hearing pursuant

                                  15   to Rule 23(e)(2) to make a final determination of whether the settlement is “fair, reasonable, and

                                  16   adequate.”

                                  17          Preliminary approval of a settlement is appropriate if “the proposed settlement appears to

                                  18   be the product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does

                                  19   not improperly grant preferential treatment to class representatives or segments of the class, and

                                  20   falls within the range of possible approval.” In re Tableware, 484 F. Supp. 2d at 1079 (citation

                                  21   omitted). The proposed settlement need not be ideal, but it must be fair and free of collusion,

                                  22   consistent with counsel’s fiduciary obligations to the class. Hanlon, 150 F.3d at 1027

                                  23   (“Settlement is the offspring of compromise; the question we address is not whether the final

                                  24   product could be prettier, smarter or snazzier, but whether it is fair, adequate and free from

                                  25   collusion.”). To assess a settlement proposal, courts must balance a number of factors:

                                  26          [T]he strength of the plaintiffs’ case; the risk, expense, complexity, and likely
                                              duration of further litigation; the risk of maintaining class action status throughout
                                  27          the trial; the amount offered in settlement; the extent of discovery completed and
                                              the stage of the proceedings; the experience and views of counsel; the presence of a
                                  28          governmental participant; and the reaction of the class members to the proposed
                                                                                        12
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                                               settlement.
                                   1

                                   2   Id. at 1026 (citations omitted). The proposed settlement must be “taken as a whole, rather than the

                                   3   individual component parts,” in the examination for overall fairness. Id. Courts do not have the

                                   4   ability to “delete, modify, or substitute certain provisions”; the settlement “must stand or fall in its

                                   5   entirety.” Id. (citation omitted).

                                   6                   2.      Analysis

                                   7                           a.      Non-Collusive Negotiations
                                   8           Because the Settlement was reached prior to class certification, “there is an even greater

                                   9   potential for a breach of fiduciary duty owed the class during settlement,” and the Court must

                                  10   examine the risk of collusion with “an even higher level of scrutiny for evidence of collusion or

                                  11   other conflicts of interest.” In re Bluetooth, 654 F.3d at 946. Signs of collusion include: (1) a

                                  12   disproportionate distribution of the settlement fund to counsel; (2) negotiation of a “clear sailing
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                                  13   provision”; and (3) an arrangement for funds not awarded to revert to defendant rather than to be

                                  14   added to the settlement fund. Id. at 947. If “multiple indicia of possible implicit collusion” are

                                  15   present, a district court has a “special ‘obligat[ion] to assure itself that the fees awarded in the

                                  16   agreement were not unreasonably high.’” Id. (quoting Staton v. Boeing Co., 327 F.3d 938, 965

                                  17   (9th Cir. 2003)).

                                  18           As to the first Bluetooth factor, the Ninth Circuit has set a “benchmark” fee award at 25

                                  19   percent of the recovery obtained for common fund settlements such as this one. Six (6) Mexican

                                  20   Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990). Class counsel intends to

                                  21   seek attorneys’ fees for all Named Plaintiffs’ counsel in the amount of 20 percent of the total

                                  22   Settlement Fund. ECF No. 225 at 32. For the purposes of evaluating collusive behavior, the

                                  23   Court finds that 20 percent is not a disproportionate amount.2

                                  24
                                       2
                                  25     Plaintiffs’ motion for attorneys’ fees is not yet before the Court. However, Union estimates that
                                       the award would represent a multiplier on counsel’s lodestar of almost four. ECF No. 225 at 32.
                                  26   Given that such a multiplier is at the upper end of the range of multipliers commonly awarded in
                                       common fund cases, see Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1051 & n.6 (9th Cir. 2002),
                                  27   Plaintiffs ensure that the motion for attorneys’ fees provides appropriate detail and documentation.
                                       The parties are also invited to consider this Court’s recent opinion in another class action
                                  28   concerning the relationship between total recovery by the class and the appropriate percentage of
                                       that recovery to be allocated to attorneys’ fees. Rodman v. Safeway Inc., No. 11-CV-03003-JST,
                                                                                           13
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                                   1          As to the second factor, a clear sailing provision is generally not a sign of possible

                                   2   collusion in cases where the attorneys’ fees will be sought from the same common fund as the

                                   3   class settlement. See In re High-Tech Employee Antitrust Litig., No. 11-CV-02509-LHK, 2015

                                   4   WL 5158730, at *14 (N.D. Cal. Sept. 2, 2015). In such cases, a clear sailing provision is of little

                                   5   value because settling defendants already have little incentive to oppose a subsequent fee motion

                                   6   where it will not affect the amount of defendants’ liability. See Rodriguez v. W. Publ’g Corp., 563

                                   7   F.3d 948, 961 n.5 (9th Cir. 2009). Therefore, a court can reasonably conclude that plaintiffs’

                                   8   counsel is unlikely to have compromised the class’s interests in order to secure such an agreement.

                                   9   In any event, the Settlement here contains no clear sailing provision. Cf. ECF No. 225-1 at 19-20.

                                  10          Third, no amount in the Settlement Fund will revert to Defendants. ECF No. 225-1 at 78.

                                  11          Finally, the Court finds no other signs of collusion.

                                  12          After considering the In re Bluetooth factors, and in light of the fact that the Settlement
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                                  13   was reached after the parties engaged in motion practice and participated in multiple days of

                                  14   formal mediation, the Court concludes that the negotiations and agreement were non-collusive.

                                  15                          b.      Strength of Plaintiffs’ Case: Risk, Expense, Complexity, and
                                                                      Likely Duration of Further Litigation
                                  16
                                              The risk, expense, complexity, and likely duration of further litigation also weigh in favor
                                  17
                                       of preliminary approval. While Plaintiffs believe their allegations have merit, they identify
                                  18
                                       numerous significant obstacles in surviving summary judgment and ultimately prevailing on their
                                  19
                                       claims at trial. ECF No. 225 at 20-22. For instance, Plaintiffs would have to prove that the
                                  20
                                       Individual Defendants’ alleged misstatements or omissions were knowingly or recklessly false.
                                  21
                                       Id. at 20. Moreover, Plaintiffs highlight difficulties in proving “that the price declines on many of
                                  22
                                       Plaintiffs’ alleged corrective disclosure dates were . . . due to revelation of the alleged
                                  23
                                       misstatements or omissions.” ECF No. 225 at 21; see also Hayes v. MagnaChip Semiconductor
                                  24
                                       Corp., No. 14-CV-01160-JST, 2016 WL 6902856, at *5 (N.D. Cal. Nov. 21, 2016) (“Proving loss
                                  25
                                       causation, in particular, would have required expensive, complex, and risky expert testimony.”).
                                  26
                                       Litigating this case through trial would also substantially delay the ability of class members to
                                  27

                                  28
                                       2018 WL 4030558, at *4-5 (N.D. Cal. Aug. 23, 2018).
                                                                                    14
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                                   1   obtain relief.

                                   2                          c.     Amount Offered in Settlement
                                   3           To evaluate the adequacy of the settlement amount, “courts primarily consider plaintiffs’

                                   4   expected recovery balanced against the value of the settlement offer.” In re Tableware, 484 F.

                                   5   Supp. 2d at 1080. But “[i]t is well-settled law that a cash settlement amounting to only a fraction

                                   6   of the potential recovery does not per se render the settlement inadequate or unfair.” Officers for

                                   7   Justice v. Civil Serv. Comm’n of City & County of S.F., 688 F.2d 615, 628 (9th Cir. 1982).

                                   8           Here, the $480 million fund achieves a good result for the class. Union’s expert calculates

                                   9   that the maximum potential damages the class could have won at trial ranged from $353.1 million

                                  10   to $3.063 billion, depending on which “corrective disclosures were accepted as demonstrating loss

                                  11   causation.” ECF No. 225-2 ¶ 34. Even accepting the high estimate that the class is settling claims

                                  12   worth $3.063 billion, the Settlement provides the class with a greater than 15 percent recovery. Id.
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                                  13   ¶ 36. This recovery is higher than recoveries achieved in other securities fraud class actions of

                                  14   similar size (over $1 billion in estimated damages). Id. (citing Cornerstone Research, Securities

                                  15   Class Action Settlements, 2017 Review and Analysis, at 8 (2018)). Accordingly, the amount of

                                  16   the Settlement also weighs in favor of approval.

                                  17                          d.     Extent of Discovery Completed and the State of the Proceedings
                                  18           While the parties reached a settlement “only at the outset of formal discovery,” Lead

                                  19   Counsel had already “obtained and reviewed millions of pages of documents belonging to 65

                                  20   Wells Fargo custodians, including every Individual Defendant as well as other of the Company’s

                                  21   most relevant senior executives and employees.” ECF No. 225 at 18. Given that the parties

                                  22   litigated this case through dispositive motions, see ECF No. 205, and participated in multiple

                                  23   formal mediation sessions, the Court is satisfied that they possessed “sufficient information to

                                  24   make an informed decision about settlement.” In re Mego Fin. Corp. Sec. Litig., 213 F.3d at 459

                                  25   (citation omitted). This factor likewise weighs in favor of approval.

                                  26                          e.     Experience and Views of Counsel
                                  27           As noted earlier, Lead Counsel has extensive experience in litigating class action and

                                  28   securities fraud cases. ECF No. 94-1. That counsel advocates in favor of this Settlement weighs
                                                                                          15
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                                   1   in favor of its approval.3

                                   2                             f.   Reaction of Class Members to the Proposed Settlement
                                   3           The Court will wait until the fairness hearing to determine the reaction of the class

                                   4   members to the Settlement.

                                   5                             g.   Preferential Treatment
                                   6           Under this factor, the Court looks at whether the settlement agreement provides

                                   7   preferential treatment to any class member. Under the Settlement, class members who submit

                                   8   timely claims will receive payments on a pro rata basis based on the date(s) class members

                                   9   purchased and sold Wells Fargo shares as well as the total number and amount of claims filed.

                                  10   ECF No. 225-1 at 75-78. As discussed in greater depth under the allocation plan, that some class

                                  11   members will receive a larger payment than others based on the number of shares they held and

                                  12   when those shares were bought and sold makes sense in this case and does not constitute improper
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                                  13   preferential treatment.

                                  14           Lead Counsel also intends to seek service awards for the class representatives, up to an

                                  15   aggregate total of $50,000, for their contributions to the case. ECF No. 225 at 33. The Ninth

                                  16   Circuit has recognized that service awards to named plaintiffs in a class action are permissible and

                                  17   do not necessarily render a settlement unfair or unreasonable. See, e.g., Rodriguez, 563 F.3d at

                                  18   958-69. The Court notes, however, that an average award of $10,000 for the five class

                                  19   representatives is double the presumptively reasonable amount of $5,000 for such awards. See

                                  20   Smith v. Am. Greetings Corp., No. 14-CV-02577-JST, 2016 WL 362395, at *10 (N.D. Cal. Jan.

                                  21   29, 2016) (“Several courts in this District have indicated that incentive payments of $10,000 or

                                  22   $25,000 are quite high and /or that, as a general matter, $5,000 is a reasonable amount.” (quoting

                                  23   Harris v. Vector Marketing Corp., No. C-08-5198 EMC, 2012 WL 381202, at *7 (N.D. Cal. Feb.

                                  24   6, 2012)). Moreover, the Private Securities Litigation Reform Act of 1995 (PSLRA) limits any

                                  25
                                       3
                                  26     The Court considers this factor, as it must, but gives it little weight. “[A]lthough a court might
                                       give weight to the fact that counsel for the class or the defendant favors the settlement, the court
                                  27   should keep in mind that the lawyers who negotiated the settlement will rarely offer anything less
                                       than a strong, favorable endorsement.” Principles of the Law of Aggregate Litigation § 3.05
                                  28   cmt. a (Am. Law. Inst. 2010).

                                                                                         16
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                                   1   such award to “reasonable costs and expenses (including lost wages) directly relating to the

                                   2   representation of the class.” 15 U.S.C. § 78u-4(a)(4).

                                   3          The Court need not resolve the specific amount of the service award at this time as the

                                   4   matter will be conclusively determined at the Final Fairness and Approval Hearing. However,

                                   5   Plaintiffs should be mindful of addressing these issues and providing appropriate detail and

                                   6   documentation in connection with their motion for service awards.

                                   7                          h.      The Presence of Obvious Deficiencies

                                   8          The Court has reviewed the Settlement and did not find any obvious deficiencies. To the

                                   9   extent any objector calls attention to any such deficiency, the Court will consider it at the fairness

                                  10   hearing.

                                  11                          i.      Fairness of Supplement Agreement

                                  12          The Court, having granted the motion to seal, must separately review the fairness of the
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                                  13   confidential supplemental agreement. The existence of a termination option triggered by the

                                  14   number of class members who opt out of the Settlement does not by itself render the Settlement

                                  15   unfair. See In re Online DVD-Rental Antitrust Litig., 779 F.3d at 948. Having reviewed the

                                  16   supplemental agreement under seal, the Court concludes that the termination provision is fair and

                                  17   reasonable.

                                  18          D.      Notice Plan

                                  19          The Court must separately evaluate the proposed notice procedure. Under Federal Rule of

                                  20   Civil Procedure 23(c)(2)(B), “the court must direct to class members the best notice that is

                                  21   practicable under the circumstances, including individual notice to all members who can be

                                  22   identified through reasonable effort.” The notice must state:

                                  23                  (i) the nature of the action; (ii) the definition of the class certified;
                                                      (iii) the class claims, issues, or defenses; (iv) that a class member
                                  24                  may enter an appearance through an attorney if the member so
                                                      desires; (v) that the court will exclude from the class any member
                                  25                  who requests exclusion; (vi) the time and manner for requesting
                                                      exclusion; and (vii) the binding effect of a class judgment on
                                  26                  members under Rule 23(c)(3).

                                  27   Fed. R. Civ. P. 23(c)(2)(B). In addition, the PSLRA requires that the notice contain (1)

                                  28   “[t]he amount of the settlement . . . determined in the aggregate and on an average per

                                                                                          17
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                                   1   share basis”; (2) as relevant here, “the average amount of [the] potential damages per

                                   2   share”; (3) a statement of any fees or costs that counsel intends to seek from the settlement

                                   3   fund; (4) identification of, and contact information for, counsel; and (5) “[a] brief

                                   4   statement explaining the reasons why the parties are proposing the settlement.” 15 U.S.C.

                                   5   § 78u-4(a)(7)(A)-(F).

                                   6            Here, as described above, the Claims Administrator will identify class members, in

                                   7   part through names and addresses obtained from Wells Fargo’s shareholder lists, and mail

                                   8   each class member the Proposed Notice and Claim Form. ECF No. 225-1 at 21; ECF No.

                                   9   225-1 at 61 (Proposed Notice); ECF No. 225-1 at 86 (Claim Form). The Claims

                                  10   Administrator will also publish the Summary Notice in the Wall Street Journal and the Los

                                  11   Angeles Times, and transmit it over the PR Newswire. ECF No. 225 at 33; ECF No. 225-1

                                  12   at 51; ECF No. 225-1 at 97 (Summary Notice). The Proposed Notice contains all of the
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                                  13   information required by Rule 23(c)(2)(B) and 15 U.S.C. § 78u-4(a)(7).

                                  14            The Court preliminary approves the Notice Plan, subject to the following

                                  15   alterations:

                                  16   1.       For a class member to request exclusion from the Settlement, the only information

                                  17   the class member must provide in a letter to the Claims Administrator is (1) the class

                                  18   member’s name, (2) a statement that the class member wishes to be excluded from the

                                  19   settlement class in Hefler v. Wells Fargo & Co., Case No. 3:16–cv–05479–JST, and (3) the

                                  20   class member’s signature. Information regarding class members’ transactions involving

                                  21   Wells Fargo shares, or class members’ telephone numbers and addresses, is not required,

                                  22   contrary to what is currently indicated in the Proposed Notice. See ECF No. 225-1 at 79.

                                  23   2.       Any objections to the Settlement should be mailed only to the Court. Once

                                  24   received by the Court, the Clerk of the Court will file the objections on the Court’s

                                  25   electronic filing system. As currently worded, the Proposed Notice and the Summary

                                  26   Notice require objections to be sent to Lead Counsel and Wells Fargo’s Counsel, see ECF

                                  27   No. 225-1 at 80, 98, which is unnecessary, as electronic filing of an objection on the case

                                  28   docket constitutes service on the parties.
                                                                                         18
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                                   1   3.       Objectors will not be required to provide all of the detailed information that is

                                   2   requested in the Proposed Notice. See ECF No. 225-1 at 80-81. Instead, objectors must

                                   3   provide only the information requested in the following proposed language:

                                   4                   You may object to the proposed settlement in writing by providing
                                                       your full name, the basis for your belief that you are a member of
                                   5                   the settlement class, the basis of your objection, and your signature.
                                                       You may not ask the Court to order a larger settlement; the Court
                                   6                   can only approve or deny the settlement. You may also appear at the
                                                       Final Approval Hearing, either in person or through your own
                                   7                   attorney. If you appear through your own attorney, you are
                                                       responsible for paying that attorney.
                                   8
                                                       All written objections and supporting papers must: (a) clearly
                                   9                   identify the case name and number (Hefler v. Wells Fargo & Co.,
                                                       Case No. 3:16-cv-05479-JST); (b) be submitted to the Court either
                                  10                   by mailing them to the Clerk of the Court for the United States
                                                       District Court for the Northern District of California, 450 Golden
                                  11                   Gate Avenue, Box 36060, San Francisco, CA 94102, or by filing
                                                       them in person at any location of the United States District Court for
                                  12                   the Northern District of California; and (c) be filed or postmarked on
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                                                       or before [the objection date].
                                  13
                                                The parties may elect to use this format, or adopt a different format requesting the
                                  14
                                       same, but not more, information.
                                  15
                                       4.       The Summary Notice shall be revised to provide “the nature of the action” and “the
                                  16
                                       class claims, issues, or defenses.” Fed. R. Civ. P. 23(c)(2)(B)(i), (iii).
                                  17
                                                The Court preliminarily approves the notice plan, as modified above.4
                                  18
                                                E.     Allocation Plan
                                  19
                                                “Approval of a plan of allocation of settlement proceeds in a class action . . . is governed
                                  20
                                       by the same standards of review applicable to approval of the settlement as a whole: the plan must
                                  21
                                       be fair, reasonable and adequate.” In re Oracle Sec. Litig., No. C-90-0931-VRW, 1994 WL
                                  22
                                       502054, at *1-2 (N.D. Cal. June 16, 1994) (citing City of Seattle, 955 F.2d at 1284-85).
                                  23
                                                The allocation plan for the Settlement tailors the recovery of each class member to the
                                  24

                                  25   4
                                         The Court acknowledges Union’s report that the Defendants have complied with the notice
                                  26   requirements of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, see ECF No. 231 at 2,
                                       and that the parties have stipulated that the Defendants will provide proof of such compliance
                                  27   prior to the fairness hearing, ECF No. 225-1 at 21. Because the parties’ papers are unclear on this
                                       point, the Court notes that the Act requires that “each defendant that is participating in the
                                  28   proposed settlement shall serve [notice] upon the appropriate” officials. 28 U.S.C. § 1715(b)
                                       (emphasis added).
                                                                                          19
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                                   1   timing of any sales or purchases of Wells Fargo common stock relative to periods of alleged

                                   2   artificial inflation and corrective disclosures, as well as the number of shares involved with each

                                   3   class member’s claim. See ECF No. 225 at 28. In other words, the allocation plan disburses the

                                   4   Settlement Fund to class members “on a pro rata basis based on the relative size of” the potential

                                   5   claims that they are compromising. Id. This type of pro rata distribution has frequently been

                                   6   determined to be fair, adequate, and reasonable. See, e.g., Thomas, 2017 WL 4750628, at *8; In re

                                   7   TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2013 WL 1365900, at *4 (N.D. Cal.

                                   8   Apr. 3, 2013) (approving similar plan of distribution); In re Vitamins Antitrust Litig., No. 99-197

                                   9   TFH, 2000 WL 1737867, at *6 (D.D.C. Mar. 31, 2000) (“Settlement distributions, such as this

                                  10   one, that apportions funds according to the relative amount of damages suffered by class members,

                                  11   have repeatedly been deemed fair and reasonable.”). Further, while the allocation plan sets a $10

                                  12   minimum in order for a class member to receive a distribution, “numerous cases . . . have
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                                  13   approved similar or higher minimum thresholds.” In re MGM Mirage Sec. Litig., 708 F. App’x

                                  14   894, 897 (9th Cir. 2017) (collecting cases).

                                  15          The Court preliminarily approves the allocation plan.

                                  16                                             CONCLUSION

                                  17          In sum, the Court (1) conditionally certifies the proposed class for settlement purposes; (2)

                                  18   grants the motion to file the confidential supplemental agreement under seal; (3) and preliminarily

                                  19   approves the class action settlement, notice plan (as modified), and allocation plan. The fairness

                                  20   hearing shall be held on December 18, 2018 at 2:00 p.m. All other dates and deadlines shall be

                                  21   calculated pursuant to the terms of the Settlement.

                                  22          IT IS SO ORDERED.

                                  23   Dated: September 4, 2018
                                                                                        ______________________________________
                                  24
                                                                                                      JON S. TIGAR
                                  25                                                            United States District Judge

                                  26
                                  27

                                  28
                                                                                        20
